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     9 and the Individual NFL Clubs

    10   [Additional Counsel Listed on Signature
         Pages]
    11

    12                                UNITED STATES DISTRICT COURT
    13                             CENTRAL DISTRICT OF CALIFORNIA
    14

    15
         IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668-PSG (JEMx)
    16   LEAGUE’S “SUNDAY TICKET”
         ANTITRUST LITIGATION,
    17                                               THE NFL DEFENDANTS’
         _______________________________             APPLICATION UNDER LOCAL
    18                                               RULE 79-5 TO FILE DOCUMENTS
         THIS DOCUMENT RELATES TO:                   UNDER SEAL
    19   ALL ACTIONS.
                                                     Judge: Hon. Philip Gutierrez
    20

    21                                               Date: January 13, 2023
                                                     Time: 1:30 p.m.
    22
                                                     Courtroom:
    23                                                     First Street Courthouse
    24
                                                           350 West 1st Street
                                                           Courtroom 6A
    25                                                     Los Angeles, CA 90012
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         Case No. 2:15-ml-02668-PSG (JEMx)          The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                    Documents Under Seal
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     1           TO THE ABOVE-CAPTIONED COURT AND TO PLAINTIFFS AND
     2   THEIR COUNSEL OF RECORD:
     3           PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), the NFL
     4   Defendants, by and through their counsel of records, hereby submit this application
     5   requesting that the Court lodge provisionally under seal the following documents
     6   (lodged concurrently herewith):
     7           1. The sealed Declaration of Rakesh N. Kilaru in Support of NFL
     8                 Defendants’ Application Under Local Rule 79-5 to File Documents Under
     9                 Seal.
    10           2. The unredacted version of the NFL Defendants’ Memorandum in Support
    11                 of the NFL Defendants’ Motion to Exclude the Opinions of Daniel A.
    12                 Rascher.
    13           3. Exhibit 1 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    14                 Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
    15           4. Exhibit 2 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    16                 Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
    17           5. Exhibit 3 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    18                 Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
    19           6. The unredacted version of Exhibit 4 to the Declaration of Rakesh N.
    20                 Kilaru in Support of the NFL Defendants’ Motion to Exclude the
    21                 Opinions of Daniel A. Rascher.
    22           7. The unredacted version of Exhibit 5 to the Declaration of Rakesh N.
    23                 Kilaru in Support of the NFL Defendants’ Motion to Exclude the
    24                 Opinions of Daniel A. Rascher.
    25           8. Exhibit 6 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    26                 Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
    27           9. Exhibit 7 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    28                 Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
                                                   1
          Case No. 2:15-ml-02668-PSG (JEMx)             The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                        Documents Under Seal
Case 2:15-ml-02668-PSG-SK Document 683 Filed 11/05/22 Page 3 of 4 Page ID #:16855



     1          10. The unredacted version of Exhibit 8 to the Declaration of Rakesh N.
     2                Kilaru in Support of the NFL Defendants’ Motion to Exclude the
     3                Opinions of Daniel A. Rascher.
     4          11. Exhibit 9 to the Declaration of Rakesh N. Kilaru in Support of the NFL
     5                Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
     6          12. Exhibit 10 to the Declaration of Rakesh N. Kilaru in Support of the NFL
     7                Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
     8          13. Exhibit 11 to the Declaration of Rakesh N. Kilaru in Support of the NFL
     9                Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
    10          14. Exhibit 12 to the Declaration of Rakesh N. Kilaru in Support of the NFL
    11                Defendants’ Motion to Exclude the Opinions of Daniel A. Rascher.
    12
                Given confidentiality and commercial sensitivity issues, the NFL Defendants
    13
         request the Court to seal and redact the designated documents.                            Pursuant to
    14
         communications regarding confidentiality issues, third-parties DirecTV, CBS, Fox,
    15
         and NBC Universal requested that the NFL Defendants move the Court to seal and
    16
         redact the designated documents.
    17

    18   Dated: November 4, 2022
                                             By: /s/ Rakesh N. Kilaru
    19                                           Rakesh N. Kilaru (admitted pro hac vice)
                                                 Beth A. Wilkinson (admitted pro hac vice)
    20                                           Brian L. Stekloff (admitted pro hac vice)
                                                 Jeremy S. Barber (admitted pro hac vice)
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                                                       Documents Under Seal
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    13                                       League, NFL Enterprises LLC, and the
                                             Individual NFL Clubs
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         Case No. 2:15-ml-02668-PSG (JEMx)        The NFL Defendants’ Application Under Local Rule 79-5 to File
                                                  Documents Under Seal
